                                               United States Bankruptcy Court
                                                    District of Arizona
In re:                                                                                                     Case No. 18-04480-BKM
Lyman S Shreeve                                                                                            Chapter 7
Sharon S Shreeve
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0970-2                  User: dominquez                    Page 1 of 1                          Date Rcvd: Jun 01, 2018
                                      Form ID: pdf002                    Total Noticed: 9


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 03, 2018.
db/jdb         +Lyman S Shreeve,    Sharon S Shreeve,   Phoenix,    24340 N. 74th Place,
                 Scottsdale, AZ 85255-2751
aty            +KRISTIN E MCDONALD,    McCarthy & Holthus, LLP,    8502 E. Via de Ventura, Suite 200,
                 Scottsdale, AZ 85258-3240
cr             +U.S. Bank National Association, not in its individ,     c/o McCARTHY & HOLTHUS, LLP,
                 8502 E. Via De Ventura, Suite 200,    Scottsdale, AZ 85258-3240
15004920       +Gagen-McCoy Law Firm,    Attn: Charles Koss,     630 San Ramon Valley Blvd.,
                 Danville CA 94526-4087
15015785       +McCarthy Holthus & Levine, P.C.,    c/o McCarthy & Holthus LLP,    1770 Fourth Avenue,
                 San Diego, CA 92101-2607
15004922        Mr. Cooper,   8950 Cypress Waters Blvd.,    Scottsdale AZ 85255
15015784       +U.S. Bank National Association,    c/o McCARTHY & HOLTHUS, LLP,
                 8502 E. Via De Ventura, Suite 200,    Scottsdale, AZ 85258-3240

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: bankruptcynotices@azdor.gov Jun 02 2018 01:11:52     AZ DEPARTMENT OF REVENUE,
                 BANKRUPTCY & LITIGATION,   1600 W. MONROE, 7TH FL.,   PHOENIX, AZ 85007-2650
15004921       +E-mail/Text: bankruptcydpt@mcmcg.com Jun 02 2018 01:12:53     Midland Credit Management,
                 PO Box 939069,   San Diego CA 92193-9069
                                                                                            TOTAL: 2

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 03, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 1, 2018 at the address(es) listed below:
              BRIAN J. MULLEN    bmullen@bktrustee.phxcoxmail.com,bmullen@ecf.epiqsystems.com
              KYLE A. KINNEY    on behalf of Debtor Lyman S Shreeve kyle@kinneylaw.net,
               paulahillock@kinneylaw.net
              KYLE A. KINNEY    on behalf of Joint Debtor Sharon S Shreeve kyle@kinneylaw.net,
               paulahillock@kinneylaw.net
              U.S. TRUSTEE    USTPRegion14.PX.ECF@USDOJ.GOV
                                                                                              TOTAL: 4
